                              IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE AT GREENEVILLE

                          CIVIL MINUTES: STATUS CONFERENCE (VIDEO)

Case No     2:20-CV-41     Date 08/31/2023 Time    1:33 P.M.     To    1:46 P.M.

Style      ULTIMA SERVICES CORPORATION VS. U.S. DEPARTMENT OF AGRICULTURE, ET AL


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                The Honorable CLIFTON CORKER, U.S. District Judge, Presiding

Courtroom Deputy KIM OTTINGER                                   Court Reporter KAREN BRADLEY

         PARTIES
                                                                COUNSEL
ULTIMA SERVICES CORPORATION                                     MICHAEL E ROSMAN

                                                                MICHELLE A. SCOTT


vs.

U.S DEPARTMENT OF AGRICULTURE                                   JULIET E. GRAY

U.S. SMALL BUSINESS ADMINISTRATION

SECRETARY OF AGRICULTURE

ADMINISTRATOR OF THE SMALL BUSINESS ADMIN.



PROCEEDINGS:

Opening statements by the Court
Statements by Counsel
Order to enter




      Case 2:20-cv-00041-DCLC-CRW Document 90 Filed 08/31/23 Page 1 of 1 PageID #: 3320
